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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: August 15, 2019

* * * * * *                *    *   *    *    *   *    *
FRANKIE REESE,                                         *                 Unpublished
    Petitioner,                                        *
                                                       *                 No. 18-647V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *
AND HUMAN SERVICES,                                    *                 Influenza (“flu”); Brachial
                                                       *                 Plexopathy; Stipulation for
                  Respondent.                          *                 Award
*    * *     *    * * * *           *    *    *   *

Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Alexis B. Babcock, Department of Justice, Washington, D.C., for respondent.

                                     DECISION FOR STIPULATION1

        On May 7, 2018, Frankie Reese (“petitioner”), filed a petition for compensation under the
National Vaccine Injury Program.2 Petition at Preamble. Petitioner received an influenza (“flu”)
vaccine on September 26, 2016. Id.; Stipulation at ¶ 2 (ECF No. 26). Petitioner alleged that as a
result of receiving the flu vaccination, she suffered brachial plexopathy. Id.; Stipulation at ¶ 4.

       On August 15, 2019, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation at ¶ 7. Respondent denies that the flu
vaccine caused petitioner to suffer brachial plexopathy or any other injury. Id. at ¶ 6.
Maintaining their respective positions, the parities nevertheless now agree that the issues


1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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between them shall be settled and that a decision should be entered awarding compensation to
petitioner according to the terms of the stipulation attached hereto as Appendix A. Id. at ¶ 7.

The stipulation awards:

        1) A lump sum of $28,000.00 in the form of a check payable to petitioner. This
           amount represents compensation for all damages that would be available under
           42 U.S.C. § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The Clerk of the Court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.


                                                                               s/Thomas L. Gowen
                                                                               Thomas L. Gowen
                                                                               Special Master




3
 Entry of judgment is expediated by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                         2
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